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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

LOUISETTE GEISS, SARAH ANN THOMAS             No. 1:17-cv-09554-AKH
(a/k/a SARAH ANN MASSE), MELISSA
THOMPSON, MELISSA SAGEMILLER,                 Hon. Alvin K. Hellerstein
NANNETTE MAY (f/k/a NANNETTE
KLATT), KATHERINE KENDALL, ZOE
BROCK, CAITLIN DULANY, LARISSA
GOMES, and JANE DOE, individually and on
behalf of all others similarly situated,

        Plaintiffs,

        v.

THE WEINSTEIN COMPANY HOLDINGS,
LLC, et al.,

        Defendants.

JILL DOE, individually and on behalf of all   No. 1:19-cv-3430-AKH
others similarly situated,

Plaintiff,

v.

THE WEINSTEIN COMPANY HOLDINGS,
LLC, et al.,

        Defendants.


 SETTLEMENT CLASS REPRESENTATIVES’ NOTICE OF MOTION AND MOTION
 FOR PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFICATION OF
      SETTLEMENT CLASSES, APPOINTMENT OF CLASS COUNSEL, AND
             PERMISSION TO DISSEMINATE CLASS NOTICE
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                                      TABLE OF EXHIBITS
       Pursuant to the Individual Rules of The Honorable Alvin K. Hellerstein, the following

table reflects the exhibits filed with this Motion:


     Exhibit         Main Exhibit                        Sub-Exhibit
       1             Class Settlement Agreement
       1(A)                                              Allocation Guidelines
       1(B)                                              Claim Form
       1(C)                                              Publication Notice
       1(D)                                              Long-Form Notice
       1(E)                                              Letter Notice
       1(F)                                              Email Notice
       1(G)                                              Proposed Preliminary Approval Order
       1(H)                                              Settlement Deed for Plaintiff Jane Doe
                                                         (U.K.)
       1(I)                                              List of Released Professionals
         2           Joint Declaration of Elizabeth A.
                     Fegan And Steve W. Berman,
                     Settlement Class Counsel
       2(A)                                              Resume of Fegan Scott LLC
       2(B)                                              Resume of Hagens Berman Sobol
                                                         Shapiro LLP
       2(C)                                              The Weinstein Company Global
                                                         Settlement Agreement
       2(D)                                              Joint Chapter 11 Plan of Liquidation
       2(E)                                              Individual Plaintiffs’ Settlement
                                                         Agreement and Release
       2(F)                                              The Weinstein Company Holdings LLC
                                                         Operating Agreement
         3           Declaration of the New York State
                     Office of the Attorney General
       3(A)                                              Verified Petition in The People of the
                                                         State of New York v. The Weinstein
                                                         Company LLC, The Weinstein Company
                                                         Holdings LLC, Harvey Weinstein, and
                                                         Robert Weinstein, Case No.

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Exhibit    Main Exhibit                          Sub-Exhibit
                                                 0450293/2018 (N.Y. Sup. Ct.)
  4        Declaration of Jon Shub (Subclass
           Counsel for the Pre-2005 Subclass)
  5        Declaration of Daniel Girard
           (Subclass Counsel for the Post-
           2005 Subclass)
  6        Declaration of Jed Melnick, JAMS
           ADR
 6(A)                                            Resume of Jed Melnick
  7        Declaration of Kyle Bingham
           Regarding Notice Program
  8        Declaration of Louisette Geiss,
           Settlement Class Representative
  9        Declaration of Sarah Ann Masse,
           Settlement Class Representative
  10       Declaration of Melissa Thompson,
           Settlement Class Representative
  11       Declaration of Melissa Sagemiller,
           Settlement Class Representative
  12       Declaration of Nannette Klatt,
           Settlement Class Representative
  13       Declaration of Katherine Kendall,
           Settlement Class Representative
  14       Declaration of Caitlin Dulany,
           Settlement Class Representative
  15       Declaration of Larissa Gomes,
           Settlement Class Representative
  16       Declaration of Jill Doe, Settlement
           Class Representative




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         Plaintiffs Louisette Geiss, Sarah Ann Thomas (a/k/a Sarah Ann Masse), Melissa

Thompson, Melissa Sagemiller, Nannette May (f/k/a Nannette Klatt), Katherine Kendall, Caitlin

Dulany, Larissa Gomes, and Jill Doe (collectively, the “Settlement Class Representatives”),

respectfully request that this Court grant their Motion For Preliminary Approval Of Class

Settlement, Certification Of Settlement Classes, Appointment Of Class Counsel, and Permission

To Disseminate Class Notice, and in support thereof state as follows:1,2

         1.       Rule 23(e) of the Federal Rules of Civil Procedure requires court approval of any

settlement of a class action. In weighing a grant of preliminary approval, a court must determine

whether “giving notice is justified by the parties’ showing that the court will likely be able to: (i)

approve the proposal under Rule 23(e)(2); and (ii) certify the class for purposes of judgment on

the proposal.” Fed. R. Civ. P. 23(e)(1)(B)(i)-(ii).

         2.       While Rule 23(e)(2) sets forth the criteria the court must consider in determining

whether a proposed class settlement merits approval, the court must also consider the perspective

of the class members who would be bound by a settlement. The approval process is thus a three-

step process. Further, where, as here, no class has been certified prior to settlement,

consideration of class certification is folded into the three-step settlement approval process. The

resulting combined approval/certification process is as follows:

         3.       First, the Court must make a preliminary determination of whether a settlement

satisfies the criteria set out in Rule 23(e)(2). At the same time, the Court must determine whether

it has a basis for concluding that it likely will be able, after the final approval hearing, to certify




1
  All capitalized terms herein shall have the same meanings as set forth in the Class Settlement Agreement, attached
as Exhibit 1.
2
  The New York State Office of the Attorney General (“NYOAG”) supports this Motion.
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the class under the standards of Rule 23(a) and (b). If the answer to both questions is “yes,” the

Court proceeds to step two.

        4.      Second, the Court directs combined notice of the proposed Class and the

Settlement to class members pursuant to Rule 23(c)(2)(B) and 23(e)(1), which includes a period

for class members to voice objections to the settlement, opt out of the proposed class if

certification is pursuant to Rule 23(b)(3), or to indicate their approval by making claims.

        5.      Third, the Court holds a hearing to make its final determination of whether the

settlement is fair, reasonable, adequate under the criteria set forth in 23(e)(2); and whether the

class merits certification.

        6.      For the reasons set out in the accompanying memorandum of law, this Court will

be able to approve the proposal under Rule 23(e)(2) and certify the class for purposes of

judgment on the terms of the proposed settlement. Under Rule 23(e)(2), the class representatives

and class counsel have adequately represented the class throughout this litigation. The

settlement was negotiated at arm's length with the assistance of a JAMS mediator with

experience mediating sexual abuse class actions. The relief contemplated by the settlement is

more than adequate, allowing for each class member to apply for monetary recovery, based on a

two-tiered structure that allows each individual class member to decide how and to what extent

to engage in the claims process. Finally, the settlement treats all members equitably.

        7.      In addition, and for the reasons set out in the accompanying memorandum of law,

this Court will be able to certify the two proposed subclasses for purpose of the judgment on the

proposed settlement: the Settlement Class meets all of the requirements of Rule 23(a), the Post-

2005 Subclass meets the requirements of Rule 23(b)(1), and the Pre-2005 Subclass meets the

requirements of Rule 23(b)(3) for purposes of settlement.



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         8.      In addition to the foregoing, and for the reasons set out in detail in the supporting

memorandum and its exhibits, this Court should appoint the undersigned as counsel for the class

because Elizabeth A. Fegan of Fegan Scott LLC and Steve Berman of Hagens Berman Sobol &

Shapiro LLP have considerable experience and knowledge of the applicable law in prosecuting

sexual abuse class actions and have undertaken considerable work on the matter to advocate for

their clients.

         9.      This Court should also approve the form and method of class notice, as detailed in

the Declaration of Kyle Bingham and the proposed notices attached to the Settlement

Agreement. The proposed notice plan provides the best notice practicable under the

circumstances and adequately informs class members of their rights in this litigation.

         10.     The Settlement thus meets the standard for preliminary approval set by 23(e)(1),

and Plaintiffs have established a basis for the Court to certify the Class, so notice should be

directed to the Class.

         11.     Finally, the effectuation of this Class Settlement is a critical piece to the Debtors’

proposed Chapter 11 plan and resolution of the Chapter 11 Cases. Accordingly, as reflected in

the memorandum and below, Class Counsel suggests a schedule that coordinates with the

schedule to be set in the Chapter 11 Cases for confirmation:

 Event                                District Court                      Bankruptcy Court

 File Motion for Preliminary          June 30, 2020                       N/A
 Approval of Settlement

 File Motion to Set Tort Claims Bar   N/A                                 June 30, 2020
 Date

 Hearing on Motion For                July 14, 2020                       N/A
 Preliminary Approval of
 Settlement




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Event                               District Court                        Bankruptcy Court

Proposed Hearing on Motion To       N/A                                   On or before July 14, 2020
Set Tort Claims Bar Date

File Joint Plan of Liquidation,     N/A                                   June 30, 2020
Disclosure Statement and
Solicitation Procedures Memo

Publish combined Class              Beginning 14 days after District      Beginning 14 days after
Settlement Notice, Tort Claim Bar   Court’s Preliminary Approval          District Court’s Preliminary
Date Notice, and Disclosure         Order or Bankruptcy Court’s Tort      Approval Order or
Statement                           Claims Bar Date Order,                Bankruptcy Court’s Tort
                                    whichever is later                    Claims Bar Date Order,
                                                                          whichever is later

File Class Counsel’s Motion for     75 days after District Court’s        N/A
Attorneys’ Fees and Costs           Preliminary Approval Order

Deadline for Settlement Class       90 days after District Court’s        N/A
Members to file comments            Preliminary Approval Order
objecting to or in support of the
Settlement

Deadline for Pre-2005 Subclass      90 days after District Court’s        N/A
Members to exclude themselves       Preliminary Approval Order
from the Settlement

Deadline for Settlement Class       90 days after District Court’s        90 days after District
Members to submit Claims and for    Preliminary Approval Order            Court’s Preliminary
the Tort Claims Bar Date                                                  Approval Order
(applicable to the Post-2005
Subclass Members who must
submit the Statement of Class
Membership (part of the Claim
Form) for the Chapter 11 Cases)

Service of Solicitation Package     N/A                                   7 days after the Tort Claims
and Publish Notice of                                                     Bar Date
Confirmation Hearing

File Motion for Final Approval of   14 days after the Objection           N/A
Class Settlement, including         Deadline
response to objections

Final Fairness Hearing on Class     October 15, 2020 or at the Court’s    N/A
Settlement                          convenience after the filing of the
                                    Motion for Final Approval of
                                    Class Settlement



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 Event                              District Court                       Bankruptcy Court

 Voting Deadline on Plan of         N/A                                  28 days after service of
 Liquidation                                                             Solicitation Package

 Confirmation Hearing               N/A                                  October 15, 2020 or at the
                                                                         Bankruptcy Court’s
                                                                         convenience



         12.    The Defendants do not oppose this motion, or the certification of the Settlement

Classes for purposes of settlement only, and otherwise reserve all rights with respect thereto as

set forth in the Class Settlement Agreement.

         WHEREFORE, the Settlement Class Representatives respectfully request that this Court

grant this motion, preliminary approve the Settlement; certify the Subclasses for purposes of this

Settlement only; appoint undersigned counsel as Class Counsel; direct that notice be given to the

Class; and grant such other and further relief as this Court deems appropriate.

Dated: June 30, 2020                           Respectfully submitted,

                                               By: /s/ Elizabeth A. Fegan
                                               Elizabeth A. Fegan
                                               FEGAN SCOTT LLC
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                                               Chicago, Illinois 60606
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                                               Steve W. Berman
                                               Shelby Smith
                                               HAGENS BERMAN SOBOL
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                            Attorneys for the Settlement Class
                            Representatives




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                               CERTIFICATE OF SERVICE

       I, Elizabeth A. Fegan, an attorney, affirm that the foregoing was filed on June 30, 2020

on ECF, which automatically served all counsel of record.

Dated: June 30, 2020                        Respectfully submitted,

                                            By: /s/ Elizabeth A. Fegan
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